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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
UNITED STATES of AMERICA                   )
                                           )
v.                                         )     Criminal No.
                                           )     14-10019-FDS
MIGUEL FERNANDES, ALEX GOMES,              )
KELLY McCLINTON, MICHAEL ALVES,            )
MARCOS ANDRADE, and NELSON                )
TEIXEIRA,                                 )
                                           )
      Defendants.                          )
__________________________________________)

                                              ORDER

SAYLOR, J.

       A status conference was held in this matter on May 14, 2015. At that time, it came to the

Court’s attention that defendants Marcos Andrade and Nelson Teixeira appear to be represented

by counsel who are father and son and who work at the same law firm.

       Fed. R. Crim. P. 44(c)(1)(B) states that: “Joint representation occurs

when . . . defendants are represented by the same counsel, or counsel who are associated in law

practice.” Upon recognizing an apparent instance of joint representation, a court “must promptly

inquire about the propriety of joint representation and must personally advise each defendant of

the right to the effective assistance of counsel, including separate representation. Unless there is

good cause to believe that no conflict of interest is likely to arise, the court must take appropriate

measures to protect each defendant’s right to counsel.” Fed. R. Crim. P. 44(c)(2).

       Because defendants Andrade and Teixeira appear to be represented by “counsel who are

associated in law practice,” the Court must make the necessary inquiry and provide the
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appropriate advice to the clients. Accordingly, the Court will do so at the next scheduled

hearing, which has been set for June 4, 2015, at 11:30 a.m.

So Ordered.


                                                     /s/ F. Dennis Saylor
                                                     F. Dennis Saylor IV
                                                     United States District Judge
Dated: May 21, 2015




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